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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Joshua
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Zebidiah
     passport).                        Middle Name                                            Middle Name

                                       Boucher
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   9        7       9    3   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Joshua Zebidiah Boucher                                                       Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers       Ingenuity Fab & Speed, LLC
     (EIN) you have used in       Business name                                                Business name
     the last 8 years             Betki, Ind
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                   4       6   –     2    7    8     9     3    1     7                    –
                                  EIN                                                          EIN

                                   8       4   –     2    7    3     5     2    2     1                    –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  16214 S. Ravenwood Drive
                                  Number       Street                                          Number      Street




                                  Magnolia                         TX      77354
                                  City                             State   ZIP Code            City                           State    ZIP Code

                                  Montgomery
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                             State   ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



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Debtor 1     Joshua Zebidiah Boucher                                               Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




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Debtor 1     Joshua Zebidiah Boucher                                                   Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?
                                                Ingenuity Fab & Speed, LLC
    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a                    16214 South Ravenswood Drive
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.
                                                Magnolia                                                TX              77354
    If you have more than one                   City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    debtor or a debtor as            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    defined by 11 U.S.C.
    § 1182(1)?                            No.   I am not filing under Chapter 11.
    For a definition of small
                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    business debtor, see
                                                the Bankruptcy Code.
    11 U.S.C. § 101(51D).
                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State          ZIP Code




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Debtor 1     Joshua Zebidiah Boucher                                                     Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Joshua Zebidiah Boucher                                                   Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Joshua Zebidiah Boucher                                                Case number (if known)


 Part 7:      Sign Below
For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true
                               and correct.

                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                               or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                               proceed under Chapter 7.

                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                               fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                               I understand making a false statement, concealing property, or obtaining money or property by fraud in
                               connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                               or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                               X /s/ Joshua Zebidiah Boucher                               X
                                  Joshua Zebidiah Boucher, Debtor 1                            Signature of Debtor 2

                                  Executed on 03/08/2021                                       Executed on
                                              MM / DD / YYYY                                                 MM / DD / YYYY




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Debtor 1     Joshua Zebidiah Boucher                                                Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Julie M. Koenig                                                 Date 03/08/2021
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   Julie M. Koenig
                                   Printed name
                                   Cooper & Scully, P.C.
                                   Firm Name
                                   815 Walker St., Suite 1040
                                   Number          Street




                                   Houston                                                    TX              77002
                                   City                                                       State           ZIP Code


                                   Contact phone (713) 236-6800                     Email address julie.koenig@cooperscully.com


                                   14217300                                                   TX
                                   Bar number                                                 State




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  Fill in this information to identify your case and this filing:
  Debtor 1               Joshua                      Zebidiah             Boucher
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                             Check if this is an
  (if known)
                                                                                                                             amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                          Do not deduct secured claims or exemptions. Put the
16214 S RAVENSWOOD DR                                      Check all that apply.                          amount of any secured claims on Schedule D:
Street address, if available, or other description              Single-family home                        Creditors Who Have Claims Secured by Property.
                                                                Duplex or multi-unit building             Current value of the       Current value of the
                                                                Condominium or cooperative                entire property?           portion you own?
MAGNOLIA                         TX       77354                 Manufactured or mobile home                         $159,300.00                $159,300.00
City                             State    ZIP Code              Land
                                                                Investment property                       Describe the nature of your ownership
                                                                Timeshare                                 interest (such as fee simple, tenancy by the
Montgomery                                                                                                entireties, or a life estate), if known.
                                                                Other
County
                                                                                                          Homestead
                                                           Who has an interest in the property?
16214 S RAVENSWOOD DR,
                                                           Check one.
MAGNOLIA, TX 77354
                                                                Debtor 1 only                                Check if this is community property
PINE VISTA MH VILLAGE LT 73 PINE
                                                                Debtor 2 only                                (see instructions)
VISTA MOBILE HOME, ACRES 0.340
                                                                Debtor 1 and Debtor 2 only
                                                                At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                    Schedule A/B: Property                                                       page 1
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Debtor 1         Joshua Zebidiah Boucher                                                               Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
PINE VISTA MH VILLAGE, LOT 74,                           Check all that apply.                               amount of any secured claims on Schedule D:
ACRES 0.360                                                   Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
Lot 74                                                        Condominium or cooperative                     entire property?                portion you own?
Pine Vista Mh Village                                         Manufactured or mobile home                                  $14,110.00                 $14,110.00
                                                              Land
Montgomery                                                    Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Homestead
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $173,410.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Cadillac                     Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      CTS-V
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2005
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 165,000                                  At least one of the debtors and another             $5,200.00                             $5,200.00
Other information:
2005 Cadillac CTS-V (approx. 165,000                          Check if this is community property
miles)                                                        (see instructions)

3.2.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Yukon
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2001                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 290,000                                  At least one of the debtors and another             $2,875.00                             $2,875.00
Other information:
2001 GMC Yukon (approx. 290,000                               Check if this is community property
miles)                                                        (see instructions)




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1         Joshua Zebidiah Boucher                                                             Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      IW                          Check one.                                          amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Model:                     Flatbed Carhauler TrailerDebtor 1 only
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2018
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $2,500.00                             $2,500.00
2018 IW Flatbed Carhauler Trailer-
Model #CHT-07 20' ft                                        Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $10,575.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,137.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                $230.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                 $70.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                $600.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Joshua Zebidiah Boucher                                                                                               Case number (if known)

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                                                          $100.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                2 Watches                                                                                                                                                                              $28.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                1 Dog                                                                                                                                                                                   $1.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $2,166.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Checking account- Spirit of Texas Acct# 6261                                                                                                          $20.70
             17.2.        Checking account:                      Checking account- First Financial Business Acct#9539                                                                                                  $38.73
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                     page 4
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Debtor 1         Joshua Zebidiah Boucher                                                           Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:

                                               Ingenuity Fab & Speed, LLC- Value of Assets is
                                               $25,900 and the liabilities are $651,398.08                           100%                            $1.00
                                               Betki Ind                                                             100%                            $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 5
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Debtor 1        Joshua Zebidiah Boucher                                                      Case number (if known)

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                          Beneficiary:                      Surrender or refund value:

                                                  Farmers Homeowners Insurance                                                                  $0.00
                                                  Progressive Auto Insurance                                                                    $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                Schedule A/B: Property                                                       page 6
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Debtor 1         Joshua Zebidiah Boucher                                                                             Case number (if known)

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................           $60.43


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 7
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Debtor 1          Joshua Zebidiah Boucher                                                                            Case number (if known)

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................            $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 8
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Debtor 1           Joshua Zebidiah Boucher                                                                                    Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................     $173,410.00

56. Part 2: Total vehicles, line 5                                                                                  $10,575.00

57. Part 3: Total personal and household items, line 15                                                               $2,166.00

58. Part 4: Total financial assets, line 36                                                                                $60.43

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $12,801.43              property total                 +              $12,801.43


63. Total of all property on Schedule A/B.                                                                                                                                                  $186,211.43
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 9
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Debtor 1      Joshua Zebidiah Boucher                                      Case number (if known)


6.   Household goods and furnishings (details):

     1 Computer Chair                                                                                       $10.00

     1 Dining Table and Chairs                                                                              $15.00

     3 China Cabinets/Bakers Rack                                                                           $30.00

     1 Refrigerator                                                                                        $100.00

     1 Stove                                                                                                $10.00

     1 Microwave                                                                                             $5.00

     1 Toaster                                                                                               $2.00

     1 Dish Washer                                                                                         $100.00

     1 Washer                                                                                               $10.00

     1 Dryer                                                                                                $50.00

     1 Vacuum Cleaner                                                                                        $5.00

     Dishes and Utensils                                                                                    $12.00

     Pots and Pans                                                                                          $20.00

     Bakeware                                                                                               $10.00

     1 Coffee Table                                                                                          $5.00

     2 End Tables                                                                                           $10.00

     2 Lamps                                                                                                $10.00

     1 Desk                                                                                                 $10.00

     1 Television Cabinet                                                                                    $3.00

     2 Indoor Fans                                                                                          $50.00

     1 Bed                                                                                                  $10.00

     2 Dressers                                                                                             $20.00

     2 Night Stands                                                                                         $10.00

     1 Circular Saw                                                                                         $10.00

     1 Portable Generator                                                                                  $100.00

     1 Ladder                                                                                               $30.00

     Hand Tools                                                                                             $75.00

     1 Auto Repair Equipment                                                                               $250.00

     1 Chain/Hand Saw                                                                                       $20.00

     1 Mower                                                                                                $50.00

     1 Gardening Tools                                                                                      $25.00

     1 Hedge Trimmer                                                                                         $5.00

     1 Edger/Weed Eater                                                                                      $5.00


Official Form 106A/B                              Schedule A/B: Property                                     page 10
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Debtor 1     Joshua Zebidiah Boucher                                        Case number (if known)

     1 Leaf Blower                                                                                            $5.00

     DVDs                                                                                                    $30.00

     1 Loveseat                                                                                              $10.00

     1 Oven                                                                                                  $10.00

     Bedding & Linens                                                                                         $5.00

7.   Electronics (details):

     1 Television                                                                                            $75.00

     1 DVD Player                                                                                            $25.00

     1 Video Game/Software                                                                                   $20.00

     1 Alexa                                                                                                 $20.00

     1 Computer                                                                                              $50.00

     1 Printer                                                                                               $20.00

     1 Cell Phone                                                                                            $20.00

9.   Equipment for sports and hobbies (details):

     1 Ice Chest                                                                                             $10.00

     1 Exercise Equipment                                                                                    $20.00

     1 Bicycle                                                                                               $25.00

     3 Outdoor Chairs                                                                                        $15.00

10. Firearms (details):

     1 Hand Gun- Canik TP9 9mm Semi Automatic                                                               $300.00

     1 Hand Gun- Canik TP9 9mm Semi Automatic                                                               $300.00




Official Form 106A/B                               Schedule A/B: Property                                     page 11
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 Fill in this information to identify your case:
 Debtor 1             Joshua              Zebidiah               Boucher
                      First Name          Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $159,300.00                     $0.00           11 U.S.C. § 522(d)(1)
16214 S RAVENSWOOD DR, MAGNOLIA, TX                                               100% of fair market
77354                                                                             value, up to any
PINE VISTA MH VILLAGE LT 73 PINE VISTA                                            applicable statutory
MOBILE HOME, ACRES 0.340                                                          limit
(1st exemption claimed for this asset)
Line from Schedule A/B: 1.1




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $159,300.00                  $0.00           11 U.S.C. § 522(d)(5)
16214 S RAVENSWOOD DR, MAGNOLIA, TX                                          100% of fair market
77354                                                                        value, up to any
PINE VISTA MH VILLAGE LT 73 PINE VISTA                                       applicable statutory
MOBILE HOME, ACRES 0.340                                                     limit
(2nd exemption claimed for this asset)
Line from Schedule A/B: 1.1

Brief description:                                     $14,110.00                   $0.00           11 U.S.C. § 522(d)(1)
Lot 74                                                                       100% of fair market
Pine Vista Mh Village                                                        value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 1.2                                                  limit

Brief description:                                     $14,110.00                   $0.00           11 U.S.C. § 522(d)(5)
Lot 74                                                                       100% of fair market
Pine Vista Mh Village                                                        value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 1.2                                                  limit

Brief description:                                      $5,200.00                $4,000.00          11 U.S.C. § 522(d)(2)
2005 Cadillac CTS-V (approx. 165,000                                         100% of fair market
miles)                                                                       value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 3.1                                                  limit

Brief description:                                      $5,200.00                $1,200.00          11 U.S.C. § 522(d)(5)
2005 Cadillac CTS-V (approx. 165,000                                         100% of fair market
miles)                                                                       value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 3.1                                                  limit

Brief description:                                      $2,875.00                $2,875.00          11 U.S.C. § 522(d)(5)
2001 GMC Yukon (approx. 290,000 miles)                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    3.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,500.00                 $500.00           11 U.S.C. § 522(d)(5)
2018 IW Flatbed Carhauler Trailer- Model                                     100% of fair market
#CHT-07 20' ft                                                               value, up to any
Line from Schedule A/B: 4.1                                                  applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Computer Chair                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $15.00                    $15.00           11 U.S.C. § 522(d)(3)
1 Dining Table and Chairs                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           11 U.S.C. § 522(d)(3)
3 China Cabinets/Bakers Rack                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
1 Refrigerator                                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Stove                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Microwave                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $2.00                     $2.00           11 U.S.C. § 522(d)(3)
1 Toaster                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
1 Dish Washer                                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Washer                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(3)
1 Dryer                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Vacuum Cleaner                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $12.00                    $12.00           11 U.S.C. § 522(d)(3)
Dishes and Utensils                                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
Pots and Pans                                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
Bakeware                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Coffee Table                                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
2 End Tables                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
2 Lamps                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Desk                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $3.00                     $3.00           11 U.S.C. § 522(d)(3)
1 Television Cabinet                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(3)
2 Indoor Fans                                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Bed                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
2 Dressers                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
2 Night Stands                                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Circular Saw                                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
1 Portable Generator                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           11 U.S.C. § 522(d)(3)
1 Ladder                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           11 U.S.C. § 522(d)(3)
Hand Tools                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           11 U.S.C. § 522(d)(3)
1 Auto Repair Equipment                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Chain/Hand Saw                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(3)
1 Mower                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           11 U.S.C. § 522(d)(3)
1 Gardening Tools                                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Hedge Trimmer                                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Edger/Weed Eater                                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
1 Leaf Blower                                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           11 U.S.C. § 522(d)(3)
DVDs                                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Loveseat                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Oven                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 6
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $5.00                     $5.00           11 U.S.C. § 522(d)(3)
Bedding & Linens                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           11 U.S.C. § 522(d)(3)
1 Television                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           11 U.S.C. § 522(d)(3)
1 DVD Player                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Video Game/Software                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Alexa                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(3)
1 Computer                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Printer                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Cell Phone                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(3)
1 Ice Chest                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 7
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Exercise Equipment                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           11 U.S.C. § 522(d)(3)
1 Bicycle                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $15.00                    $15.00           11 U.S.C. § 522(d)(3)
3 Outdoor Chairs                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(5)
1 Hand Gun- Canik TP9 9mm Semi                                               100% of fair market
Automatic                                                                    value, up to any
Line from Schedule A/B: 10                                                   applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(5)
1 Hand Gun- Canik TP9 9mm Semi                                               100% of fair market
Automatic                                                                    value, up to any
Line from Schedule A/B: 10                                                   applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $28.00                    $28.00           11 U.S.C. § 522(d)(4)
2 Watches                                                                    100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                       $28.00                     $0.00           11 U.S.C. § 522(d)(5)
2 Watches                                                                    100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           11 U.S.C. § 522(d)(3)
1 Dog                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 8
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Debtor 1      Joshua Zebidiah Boucher                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $20.70                    $20.70           11 U.S.C. § 522(d)(5)
Checking account- Spirit of Texas Acct#                                      100% of fair market
6261                                                                         value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit

Brief description:                                       $38.73                    $38.73           11 U.S.C. § 522(d)(5)
Checking account- First Financial                                            100% of fair market
Business Acct#9539                                                           value, up to any
Line from Schedule A/B: 17.2                                                 applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           11 U.S.C. § 522(d)(5)
Ingenuity Fab & Speed, LLC- Value of                                         100% of fair market
Assets is $25,900 and the liabilities are                                    value, up to any
$651,398.08                                                                  applicable statutory
Line from Schedule A/B: 19                                                   limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(7)
Farmers Homeowners Insurance                                                 100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Farmers Homeowners Insurance                                                 100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(7)
Progressive Auto Insurance                                                   100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Progressive Auto Insurance                                                   100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 9
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  Fill in this information to identify your case:
  Debtor 1             Joshua                Zebidiah               Boucher
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               $2,000.00              $2,500.00
ASCENTIUM CAPITOL
Creditor's name
                                                 2018 IW Flatbed Carhauler
PO BOX 301593                                    Trailer, Automotive Equi
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
DALLAS                   TX      75303               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Business Account
   to a community debt
Date debt was incurred           2018            Last 4 digits of account number        3     0    5    3




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $2,000.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor 1      Joshua Zebidiah Boucher                                                     Case number (if known)

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.2                                         Describe the property that
                                              secures the claim:                           $125,000.00             $173,410.00          $41,143.00
Don & Annette Boucher                         16214 S RAVENSWOOD DR,
Creditor's name
PO Box 1623                                   MAGNOLIA, TX 77354
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Montgomery              TX      77356             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                2nd Mortgage
   to a community debt
Date debt was incurred          12/2018       Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                            $89,553.00             $173,410.00
Wells Fargo Home Mortgage
Creditor's name
                                              16214 S RAVENSWOOD DR,
Attn: Bankruptcy                              MAGNOLIA, TX 77354
Number     Street
PO Box 10335
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Des Moines              IA      50306             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                FHA Real Estate Mortgage
   to a community debt
Date debt was incurred          05/2013       Last 4 digits of account number        8     3    0    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $214,553.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $216,553.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
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Debtor 1       Joshua Zebidiah Boucher                                                 Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Ascentium Capital                                                      On which line in Part 1 did you enter the creditor?      2.1
        Name
        23970 Hwy 59 N                                                         Last 4 digits of account number
        Number       Street




        Kingwood                                 TX      77339
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3
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  Fill in this information to identify your case:
  Debtor 1             Joshua                Zebidiah               Boucher
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $30,000.00         $30,000.00                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number        9     3    1      7
Insolvency Department                                      When was the debt incurred?
Number       Street
PO Box 7346                                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Joshua Zebidiah Boucher                                                   Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                        Total claim       Priority       Nonpriority
previous page.                                                                                                     amount         amount


   2.2                                                                                              $2,536.29         $2,536.29          $0.00
Montgomery County Tax Assessor
Priority Creditor's Name                               Last 4 digits of account number       0     0    2      1
400 N. San Jacinto ST.                                 When was the debt incurred?        2018
Number       Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Conroe                      TX      77301                  Disputed
City                        State   ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.3                                                                                              $2,313.17         $2,313.17          $0.00
Montgomery County Tax Assessor
Priority Creditor's Name                               Last 4 digits of account number
400 N. San Jacinto ST.                                 When was the debt incurred?        2019
Number       Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Conroe                      TX      77301                  Disputed
City                        State   ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.4                                                                                                 $323.17          $323.17          $0.00
TEXAS WORKFORCE COMMISSION
Priority Creditor's Name                               Last 4 digits of account number       4     1    1      0
ATTORNEY GENERAL, STATE OF TX                          When was the debt incurred?        2020
Number       Street
PO BOX 12548                                           As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
AUSTIN                      TX      78711                  Disputed
City                        State   ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?                            Wages, Salaries, and Commissions
     No
     Yes


Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor 1       Joshua Zebidiah Boucher                                                          Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $500.00
ADVANCE AUTO PARTS                                          Last 4 digits of account number         2     2    7     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO BOX 742063
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
ATLANTA                         GA      30374
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Account
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $4,000.00
AMAZON CAPITOL                                              Last 4 digits of account number         1 9 8            4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           11/25/2019
410 TERRY AVE N
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
SEATTLE                         WA      98109
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Loan Agreement
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                  $800.00
Amazon Credit                                            Last 4 digits of account number       2    9    2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6294
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $7,000.00
AMERICAN EXPRESS                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
PO BOX 650448
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75265
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $6,007.00
Amex                                                     Last 4 digits of account number      1 0        0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2018
Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 981540                                                Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                     $0.00
AT & T                                                   Last 4 digits of account number       4    5    5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 930170
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75393
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $1,500.00
BCI SUPPLY                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/1/2019
107 GLADSTELL ST.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CONROE                        TX      77301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                     $0.00
Blue Ridge Financial, LLC                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
535 Washington Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 201                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Buffalo                       NY      14203
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Equipment
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                                $4,994.00
Capital One                                              Last 4 digits of account number      1 6        5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                  $718.00
Chase Card Services                                      Last 4 digits of account number      2 9        2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                               $15,000.00
CHRIS SADLER/WARWORKS/L&T CATTLE                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/1/2019
103 N THOPMPSON ST
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CONROE                        TX      77301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                     $0.00
CHTD Company                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2576
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62708
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               $13,926.06
CIT BANK NA                                              Last 4 digits of account number      8 4        5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/1/2018
PO BOX 856502
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MINNEAPOLIS                   MN      55485
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Equipment
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                $1,300.00
CITIZEN BANK                                             Last 4 digits of account number      4 3 0           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1/2020
PO BOX 42124
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PROVIDENCE, RI 2940                                          Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                  $289.00
Comcast                                                  Last 4 digits of account number       8    8    7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 660618
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                               $11,632.00
Cornwell Quality Tools                                   Last 4 digits of account number      8 9        2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2014
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
667 Seville Road                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wadsworth                     OH      44281
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Installment Sales Contract
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                     $0.00
Corporation Service Company                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2576
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62708
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Equipment
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                     $0.00
Corporation Service Company                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2576
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Springfield                   IL      62708
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Equipment
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                $2,000.00
DAVID CASTILLO                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/7/2020
24664 COUNTRY OAKS BLVD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MONTGOMERY                    TX      77316
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Payroll
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                $1,500.00
Discover card                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOX 29013
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PHOENIX                       AZ      85038
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                                $1,402.00
Discover Financial                                       Last 4 digits of account number      5 4        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3025                                                  Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                $5,000.00
EBAY                                                     Last 4 digits of account number       0    0    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2025 HAMILTON AVE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
SAN JOSE                      CA      95125
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                $2,928.27
ENTERGY                                                  Last 4 digits of account number      2 9 7           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/1/2020
PO BOX 8104
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
BATON ROUGE                   LA      70891
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.24                                                                                                                                   $90.98
FARMERS INSURANCE                                        Last 4 digits of account number      1 4 2           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/1/2020
PO BOX 660066
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                  $304.80
FARMERS INSURANCE                                        Last 4 digits of account number      6 9 5           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/1/2020
PO BOX 660066
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                              $250,000.00
FRANK & ANGELA MOORE                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/18/2021
PO BOX 52
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MONTGOMERY                    TX      77356
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Lease
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.27                                                                                                                                $1,184.67
Green Mountain Energy                                    Last 4 digits of account number       6    1    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 65001
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265-0001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Utilities
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                               $60,000.00
HAAS                                                     Last 4 digits of account number      8 5        6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/1/2019
PO BOX 51160
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
LOS ANGELES                   CA      90074
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Equipment
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                  $500.00
JACOB BROWN                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/7/2020
23520 SHARP RD #6
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MONTGOMERY                    TX      77356
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Payroll
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
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  4.30                                                                                                                                $1,500.00
KENNETH L THOMET CPA                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
16955 WALDEN RD STE118
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MONTGOMERY                    TX      77356
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                $2,100.00
KEYSTON BROTHERS                                         Last 4 digits of account number      2 8 0           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/11/1905
5250 N SAM HOUSTON PRKWAY W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HOUSTON                       TX      77086
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.32                                                                                                                                $1,000.00
KYLE GRIMES                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/7/2020
25261 ASHLEY DR
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HOCKLEY                       TX      77447
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Payroll
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                                $1,300.00
LEONARD B ABKE                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/7/2020
12923 CR 314
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
NAVASOTA                      TX      77868
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Payroll
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                  $160.21
Luxury Air AC and Heating                                Last 4 digits of account number       1    0    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
904 McCall Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.35                                                                                                                                  $800.00
M&G SALES                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/11/1905
144 THERON ST
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HOUSTON                       TX      77022
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.36                                                                                                                              $100,000.00
MCCLANAHAN DEVELOPMENT                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        4/1/2016
13921 HWY 105 W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CONROE                        TX      77304
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Lease
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

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                                                                                                                                   Total claim
previous page.

  4.37                                                                                                                                $2,000.00
O'NEAL STEEL                                             Last 4 digits of account number      9 5 0           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/11/1905
PO BOX 934243
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ATLANTA                       GA      31193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




  4.38                                                                                                                                $2,000.00
O'REILLY AUTO PARTS                                      Last 4 digits of account number       0    2    2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOX 9464
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
SPRINGFIELD                   MO      65801
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
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  4.39                                                                                                                                $8,500.00
PAYPAL                                                   Last 4 digits of account number       1    4    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOX 960080
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ORLANDO                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                              $110,000.00
PAYPAL LOAN BUILDER SWIFT FINANCIAL                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1/2019
3505 SILVERSIDE RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
WILLMINGTON                   DE      19810
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                                  $200.00
RAM PRODUCTS                                             Last 4 digits of account number      G 0        0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/1/2020
PO BOX 821159
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
FT WORTH                      TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
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  4.42                                                                                                                               $10,722.90
Richard Muller Esq.                                      Last 4 digits of account number       1    1    0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Legend Advance Funding, II, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
360 Madison Avenue, 12th Floor                               Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10017
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




  4.43                                                                                                                               $27,709.00
Snap On Credit                                           Last 4 digits of account number      2 0        6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2008
950 Technology Way
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 301                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Libertyville                  IL      60048
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Secured
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
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  4.44                                                                                                                                $2,500.00
STORAGE 105 INC                                          Last 4 digits of account number          J      3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/1/2020
13921 HWY 105 W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CONROE                        TX      77304
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.45                                                                                                                                  $827.00
Synchrony Bank                                           Last 4 digits of account number      2 4        9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                                $8,403.00
Synchrony Bank/Gap                                       Last 4 digits of account number      1 4        0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2014
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.47                                                                                                                                $5,116.00
Synchrony Bank/QVC                                       Last 4 digits of account number      8 6        8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2016
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                  $750.00
TIM LEBLANC                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/30/2020
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                                  $750.00
ULINE                                                    Last 4 digits of account number      4 2        6    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/1/2020
PO BOX 88741
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CHICAGO                       IL      60680
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 20
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.50                                                                                                                                $6,000.00
UPS                                                      Last 4 digits of account number      4 1        8    Y
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
55 GLENLAKE PARKWAY NE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ATLANTA                       GA      30328
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.51                                                                                                                                $2,500.00
VIVINT                                                   Last 4 digits of account number           I  F       S
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1/2020
4931 NORTH 300 WEST
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PROVO                         UT      84604
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 21
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.52                                                                                                                                  $350.00
WASTE MANAGEMENT                                         Last 4 digits of account number      3 0 0           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/1/2020
PO BOX 660345
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75266
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes

  4.53                                                                                                                                $2,004.39
WELLS FARGO                                              Last 4 digits of account number      7 3 0           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/12/1905
PO BOX 6995
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PORTLAND                      OR      97228
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Over draft bank account
Is the claim subject to offset?
     No
     Yes

  4.54                                                                                                                                $9,273.00
WELLS FARGO                                              Last 4 digits of account number      4 3        0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2009
PO BOX 6995
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PORTLAND                      OR      97228
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 22
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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.55                                                                                                                                  $400.00
XOMETRY SUPPLIES                                         Last 4 digits of account number      9 3        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/1/2020
PO BOX 735304
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75373
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 23
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Debtor 1       Joshua Zebidiah Boucher                                                    Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Caine & Weiner                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 55848                                                Line   4.31 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       6    0    0    0
Sherman Oaks                    CA      91413
City                            State   ZIP Code


Citizens One                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 42124                                                Line   4.51 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Providence                      RI      02940-2124
City                            State   ZIP Code


CNC Associates, Inc                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2900 Challenger Place                                       Line   4.28 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Onxnard                         CA      93030
City                            State   ZIP Code


Corporation Service Company                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
251 Little Falls Drive                                      Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Wilmington                      DE      19808
City                            State   ZIP Code


Credit Management, LP                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                            Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
6080 Tennyson Pkwy, Ste 100                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       8    8    7    5
Plano                           TX      75024
City                            State   ZIP Code




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Debtor 1     Joshua Zebidiah Boucher                                                Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

CT Lien Solutions                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2727 Allen Parkway Ste. 100                          Line    4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Houston                     TX      77019
City                        State   ZIP Code


Enhanced Recovery Company                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                     Line    4.6 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
8014 Bayberry Road                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    5    5    1
Jacksonville                FL      32256
City                        State   ZIP Code


Internal Revenue Service                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
STOP 6692 AUSC                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Taxes                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Austin                      TX      73301-0030
City                        State   ZIP Code


Internal Revenue Service                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1919 Smith St.                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Taxes
Stop 5024 HOU                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Houston                     TX      77002
City                        State   ZIP Code


Linebarger, Goggan, Blair & Sampson, LLP             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
103 W. Phillips St.                                  Line    2.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Conroe                      TX      77301
City                        State   ZIP Code


MICHAEL & LAURA SIMMONS                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11739 W GRAND POND DR                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
MONTGOMERY                  TX      77356
City                        State   ZIP Code

DISSATISFIED CUSTOMER




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 25
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Debtor 1     Joshua Zebidiah Boucher                                               Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Nationwide Credit, Inc                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 15130                                         Line   4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      5    0    8    7
Wilmington                  DE      19850-5130
City                        State   ZIP Code


Radius Global Solutions                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 390846                                        Line   4.54 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Minneapolis                 MN      55439
City                        State   ZIP Code


Rusty Green CRG Group llc                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
101 W Farmers Rd                                     Line   4.37 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
Seagoville Rd 75159                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      7    7    6    6
City                        State   ZIP Code


SNAP ON INC                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2801 80TH ST.                                        Line   4.43 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      2    0    6    2
KENOSHA                     WI      53143
City                        State   ZIP Code




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Debtor 1       Joshua Zebidiah Boucher                                                 Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $34,849.46

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +            $323.17


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $35,172.63




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $699,442.28


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $699,442.28




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 27
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 Fill in this information to identify your case:
 Debtor 1             Joshua                Zebidiah               Boucher
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      10350 Storage                                                                Space 1,2 & 3
          Name                                                                         Contract to be ASSUMED
          PO Box 1624
          Number    Street



          Montgomery                                   TX        77357
          City                                         State     ZIP Code

 2.2      FRANK & ANGELA MOORE                                                         Business Lease- 10338 Commerce Row,
          Name                                                                         Montgomery, TX 77356-3269
          PO BOX 52                                                                    Contract to be REJECTED
          Number    Street



          MONTGOMERY                                   TX        77356
          City                                         State     ZIP Code

 2.3      MCCLANAHAN DEVELOPMENT                                                       Business Lease- 13627 Poplar Circle
          Name                                                                         Conroe, TX 77304
          13921 HWY 105 W                                                              Contract to be REJECTED
          Number    Street



          CONROE                                       TX        77304
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Joshua              Zebidiah                Boucher
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                       page 1
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 Fill in this information to identify your case:
     Debtor 1              Joshua               Zebidiah               Boucher
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Self Employed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Ingenuity Fab & Speed, LLC

      Occupation may include            Employer's address     16214 S. Ravenwood Drive
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Magnolia                     TX      77354
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Joshua Zebidiah Boucher                                                                                               Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $1,625.96
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00
     8e. Social Security                                                                                        8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $1,625.96

10. Calculate monthly income. Add line 7 + line 9.                             10.     $1,625.96 +                      =                                                     $1,625.96
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $1,625.96
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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Debtor 1     Joshua Zebidiah Boucher                                Case number (if known)

8a. Attached Statement (Debtor 1)

                                       Ingenuity Fab & Speed, LLC

Gross Monthly Income:                                                                              $6,000.00

Expense                                     Category                               Amount

Fuel                                        Gasoline                               $10.01
Supplies                                    Supplies                             $864.03
Storage                                     Lease                               $3,500.00
Total Monthly Expenses                                                                             $4,374.04
Net Monthly Income:                                                                                $1,625.96




Official Form 106I                        Schedule I: Your Income                                      page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Joshua                 Zebidiah               Boucher                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                      $50.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Joshua Zebidiah Boucher                                                       Case number (if known)

                                                                                                                  Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                       (Electricity) 6a.                     $200.00
     6b. Water, sewer, garbage collection                          (See continuation sheet(s) for details) 6b.                      $135.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                      $210.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                       $250.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                       (Clothing) 9.                         $30.00
10. Personal care products and services                                                       (Toiletries) 10.                       $50.00
11. Medical and dental expenses                                                                            11.                       $30.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                      $160.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                       $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                     $250.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                        Schedule J: Your Expenses                                                   page 2
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Debtor 1      Joshua Zebidiah Boucher                                                          Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Pet Food & Vet                                                                           21.    +           $75.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.            $1,490.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.            $1,490.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.            $1,625.96
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –        $1,490.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              $135.96

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Homeowners insurance will increase and the mortgage payment is being deferred until 7/2021.




 Official Form 106J                                         Schedule J: Your Expenses                                             page 3
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Debtor 1     Joshua Zebidiah Boucher                                                  Case number (if known)


6b. Water, sewer, garbage collection (details):
    Water                                                                                                              $35.00
    Garbage                                                                                                           $100.00

                                                                                            Total:                    $135.00


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
    Cellular Phone                                                                                                    $100.00
    Internet                                                                                                          $110.00

                                                                                            Total:                    $210.00


12. Transportation (details):
    Gas/Repairs                                                                                                       $150.00
    Toll Way Fees                                                                                                      $10.00

                                                                                            Total:                    $160.00




 Official Form 106J                                       Schedule J: Your Expenses                                      page 4
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                                                                                                                                                                              03/08/2021 12:28:15pm



 Fill in this information to identify your case:
 Debtor 1                Joshua                        Zebidiah                      Boucher
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $173,410.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $12,801.43
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $186,211.43
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $216,553.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $35,172.63
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $699,442.28
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $951,167.91




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $1,625.96
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $1,490.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Joshua Zebidiah Boucher                                                      Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Joshua              Zebidiah             Boucher
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Joshua Zebidiah Boucher                          X
        Joshua Zebidiah Boucher, Debtor 1                      Signature of Debtor 2

        Date 03/08/2021                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Joshua                Zebidiah               Boucher
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Joshua Zebidiah Boucher                                                   Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,             $5,000.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,          $108,554.25        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2020 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $687,292.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,             $8,761.16       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,               $640.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2020 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,             $1,200.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2
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Debtor 1       Joshua Zebidiah Boucher                                                  Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                     Vehicles- Sold                     $13,000.00
(January 1 to December 31, 2020 )
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2019 )
                                YYYY




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
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Debtor 1         Joshua Zebidiah Boucher                                                      Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                          Court or agency                               Status of the case
Legend Advance Funding II, LLC Breach of Contract                                      Supreme Court of teh State of New
                                                                                                                                               Pending
vs. Ingenuity Fab & Speed LLC                                                          York
and Joshua Zebidiah Boucher                                                            Court Name                                              On appeal

Case number 657095/2020                                                                Number     Street                                       Concluded



                                                                                       City                      State    ZIP Code




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Debtor 1         Joshua Zebidiah Boucher                                                   Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1       Joshua Zebidiah Boucher                                                      Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Cooper & Scully, P.C.                                Attorney Fees: $3,500                                      or transfer was      payment
Person Who Was Paid                                  Court Filing Fee: $338                                     made

815 Walker St., Suite 1040                           Credit Report: $37                                            12/30/2020           $2,000.00
Number      Street                                   Counseling Fees: $50
                                                                                                                    1/12/2021           $1,925.00

Houston                       TX       77002
City                          State    ZIP Code

www.cooperscully.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Anthony Garcia                                       property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         1998 Chevrolet 1500                     $4,500.00                                      7/2020
404 Lamar Drive                                                                              Low Retail per NADA $2,725
Number      Street




Pasadena                      TX       77502
City                          State    ZIP Code

Person's relationship to you




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Debtor 1      Joshua Zebidiah Boucher                                                 Case number (if known)

                                                 Description and value of any           Describe any property or payments    Date transfer
Richard Trubia                                   property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                     1959 GMC Apache 3100, needs            $8,500.00                              12/2020
303 Morris Rd                                    full restoration                       Low Retail Per NADA $1,948
Number     Street




Magnolia                   TX      77354
City                       State   ZIP Code

Person's relationship to you

                                                 Description and value of any           Describe any property or payments    Date transfer
Donald Boucher                                   property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                     1967 Mercury Comet, needs              $750.00                                 1/2021
16214 S. Ravenwood Drive                         complete restoration, no motor         Low Retail per NADA $2,389
Number     Street                                or transmission



Magnolia                   TX      77354
City                       State   ZIP Code

Person's relationship to you Father

                                                 Description and value of any           Describe any property or payments    Date transfer
Donald Boucher                                   property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                     1976 Ford F250, needs                  $2,000.00                               1/2021
16214 S. Ravenwood Drive                         complete restoration                   Low Retail Per NADA $4,313
Number     Street




Magnolia                   TX      77354
City                       State   ZIP Code

Person's relationship to you Father

                                                 Description and value of any           Describe any property or payments    Date transfer
Donald Boucher                                   property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                     1962 Ford F250, needs                  $1,250.00                               1/2021
16214 S. Ravenwood Drive                         complete restoration                   Low Retail Per NADA $2,149
Number     Street




Magnolia                   TX      77354
City                       State   ZIP Code

Person's relationship to you Father

                                                 Description and value of any           Describe any property or payments    Date transfer
Donald Boucher                                   property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                     1966 Ford F350, needs                  $1,000.00                               1/2021
16214 S. Ravenwood Drive                         complete restoration                   Low Retail Per NADA $2,425
Number     Street




Magnolia                   TX      77354
City                       State   ZIP Code

Person's relationship to you Father




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Debtor 1        Joshua Zebidiah Boucher                                                             Case number (if known)

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                           Last 4 digits of account       Type of account or          Date account      Last balance
                                                           number                         instrument                  was closed,       before closing
                                                                                                                      sold, moved,      or transfer
                                                                                                                      or transferred
Wells Fargo
Name of Financial Institution
                                                           XXXX- 7      3    0      9            Checking                    1/6/2021      ($2,004.39)
PO Box 6995                                                                                      Savings
Number      Street
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other
Portland                         OR      97228-6995
City                             State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                    Who else has or had access to it?                Describe the contents                 Do you still
                                                                                                                                           have it?

STORAGE 105 INC                                                                                      Old car parts                             No
Name of Storage Facility                            Name                                                                                       Yes
13921 HWY 105 W
Number      Street                                  Number     Street




CONROE                      TX      77304
City                        State   ZIP Code        City                    State     ZIP Code

                                                    Who else has or had access to it?                Describe the contents                 Do you still
                                                                                                                                           have it?

10350 Storage                                                                                        See Property held for another             No
Name of Storage Facility                            Name                                             person- Projects debtor is                Yes
10350 Storage                                                                                        currently working on
Number      Street                                  Number     Street




Montgomery                  TX      77356
City                        State   ZIP Code        City                    State     ZIP Code




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Debtor 1       Joshua Zebidiah Boucher                                                    Case number (if known)

  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                Where is the property?                      Describe the property              Value

Brian Clavenna                                                                              Project debtor is working on:      $175,000.00
Owner's Name                                                                                1935 Chevrolet Custom 2
32422 Tamina Rd                                 10350 Commerce Row                          Door Sedan, uninstalled parts,
Number     Street                               Number    Street                            motor and transmission



Magnolia                  TX      77354         Montgomery             TX      77356
City                      State   ZIP Code      City                   State   ZIP Code

                                                Where is the property?                      Describe the property              Value

Herman & Susan Haude                                                                        Project debtor is working on:       $60,000.00
Owner's Name                                                                                1963 Chevrolet Impala
2727 Spring Stuebner                            10350 Commerce Row                          Convertible and uninstalled
Number     Street                               Number    Street                            new parts



Spring                    TX      77389         Montgomery             TX      77356
City                      State   ZIP Code      City                   State   ZIP Code

                                                Where is the property?                      Describe the property              Value

Danny Henderson                                                                             Project debtor is working on:       $75,000.00
Owner's Name                                                                                1957 Fairlane 500 pro street
11365 Grand Harbor                              10350 Commerce Row                          car and unistalled new parts
Number     Street                               Number    Street




Montgomery                TX      77356         Montgomery             TX      77356
City                      State   ZIP Code      City                   State   ZIP Code

                                                Where is the property?                      Describe the property              Value

Stan Springer                                                                               Project debtor is working on:      $100,000.00
Owner's Name                                                                                1970 Oldsmobile Indy Pace
3505 Oak Landing                                10350 Commerce Row                          Car and unistalled parts
Number     Street                               Number    Street




Conroe                    TX      77304         Montgomery             TX      77356
City                      State   ZIP Code      City                   State   ZIP Code




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Debtor 1       Joshua Zebidiah Boucher                                                 Case number (if known)

                                             Where is the property?                      Describe the property             Value

Hector DeLaCruz                                                                          Project debtor is working on:      $30,000.00
Owner's Name                                                                             1967 Chevrolet C 10 with
7141 Old Navasota Rd                         10350 Commerce Row                          parts
Number     Street                            Number    Street




Brenham                TX      77833         Montgomery             TX      77356
City                   State   ZIP Code      City                   State   ZIP Code

                                             Where is the property?                      Describe the property             Value

Donald Boucher                                                                           Tools and Equipment- See           $15,200.00
Owner's Name                                                                             Exhibit A
16214 S. Ravenswood Drive                    16214 S. Ravenwood Drive
Number     Street                            Number    Street




Magnolia               TX      77354         Magnolia               TX      77354
City                   State   ZIP Code      City                   State   ZIP Code

                                             Where is the property?                      Describe the property             Value

Greg LaPlante                                                                            Project debtor is working on:      $75,000.00
Owner's Name                                                                             1972 Chevelle
1529 Emerald Lakes                           10350 Commerce Row
Number     Street                            Number    Street




Willis                 TX      77378         Montgomery             TX      77356
City                   State   ZIP Code      City                   State   ZIP Code




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Debtor 1        Joshua Zebidiah Boucher                                                         Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Ingenuity Fab & Speed, LLC                        Automotive Restoration and                          Do not include Social Security number or ITIN.
Business Name                                     Manufacturing
                                                                                                      EIN: 4     6 – 2         7    8    9   3    1     7
13627 POPLAR CIR
Number       Street
                                                  Name of accountant or bookkeeper                    Dates business existed

                                                                                                      From       5/2013            To   Present
Conroe                     TX      77304
City                       State   ZIP Code




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Debtor 1       Joshua Zebidiah Boucher                                                     Case number (if known)

                                                 Describe the nature of the business            Employer Identification number
Betki, Ind                                       Manufacturing                                  Do not include Social Security number or ITIN.
Business Name
                                                                                                EIN: 8    4 – 2      7    3    5   2    2     1
16214 South Ravenswood Drive                     Name of accountant or bookkeeper
Number     Street
                                                                                                Dates business existed

                                                                                                From       2019          To   Present
Magnolia                  TX      77354
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                            Date issued
PayPay Loan Builder                                           01/01/2020
Name

3505 Silverside Rd
Number     Street




Wilmington                         DE        19810
City                               State     ZIP Code

                                                            Date issued
HAAS                                                          07/01/2019
Name

PO Box 51160
Number     Street




Los Angeles                        CA        90074
City                               State     ZIP Code

                                                            Date issued
Legend Advance Lending                                        08/01/2020
Name

360 Madison Ave
Number     Street

12 Floor

New York                           NY        10017
City                               State     ZIP Code




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Debtor 1     Joshua Zebidiah Boucher                                                Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ Joshua Zebidiah Boucher                         X
   Joshua Zebidiah Boucher, Debtor 1                      Signature of Debtor 2

   Date     03/08/2021                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:
 Debtor 1              Joshua             Zebidiah                Boucher
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        ASCENTIUM CAPITOL                                     Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 IW Flatbed Carhauler Trailer,                    Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        Automotive Equi
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Don & Annette Boucher                                 Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    16214 S RAVENSWOOD DR,                                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        MAGNOLIA, TX 77354
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Wells Fargo Home Mortgage                             Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    16214 S RAVENSWOOD DR,                                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        MAGNOLIA, TX 77354
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Joshua Zebidiah Boucher                                                 Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    Lessor's name:        10350 Storage                                                                           No
    Description of leased Space 1,2 & 3                                                                           Yes
    property:


    Lessor's name:        FRANK & ANGELA MOORE                                                                    No
    Description of leased Business Lease- 10338 Commerce Row, Montgomery, TX 77356-                               Yes
    property:             3269


    Lessor's name:        MCCLANAHAN DEVELOPMENT                                                                  No
    Description of leased Business Lease- 13627 Poplar Circle                                                     Yes
    property:             Conroe, TX 77304


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.



X /s/ Joshua Zebidiah Boucher                         X
   Joshua Zebidiah Boucher, Debtor 1                      Signature of Debtor 2

   Date 03/08/2021                                        Date
        MM / DD / YYYY                                           MM / DD / YYYY




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $78    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $338    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $571    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,738    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $78   administrative fee
                                                                After you make all the payments under your plan, many
        $278   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $78    administrative fee
                                                                     most criminal fines and restitution obligations,
          $313    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/forms/bankruptcy-forms                counseling briefing from an approved credit counseling
                                                                agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://www.uscourts.gov/services-
    U.S. Trustee, the Office of the U.S. Attorney, and          forms/bankruptcy/credit-counseling-and-debtor-
    other offices and employees of the U.S. Department          education-courses.
    of Justice.
                                                                In Alabama and North Carolina, go to:
                                                                http://www.uscourts.gov/services-
Make sure the court has your mailing                            forms/bankruptcy/credit-counseling-and-debtor-
                                                                education-courses.
address

The bankruptcy court sends notices to the mailing address       If you do not have access to a computer, the clerk of the
you list on Voluntary Petition for Individuals Filing for       bankruptcy court may be able to help you obtain the list.
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re Joshua Zebidiah Boucher                                                                                                       Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                       $3,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $3,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   03/08/2021                         /s/ Julie M. Koenig
                      Date                            Julie M. Koenig                            Bar No. 14217300
                                                      Cooper & Scully, P.C.
                                                      815 Walker St., Suite 1040
                                                      Houston, TX 77002
                                                      Phone: (713) 236-6800 / Fax: (713) 236-6880




   /s/ Joshua Zebidiah Boucher
   Joshua Zebidiah Boucher
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Joshua Zebidiah Boucher                                                CASE NO

                                                                                  CHAPTER         7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/8/2021                                           Signature   /s/ Joshua Zebidiah Boucher
                                                                    Joshua Zebidiah Boucher




Date                                                    Signature
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                  10350 Storage
                  PO Box 1624
                  Montgomery, TX 77357



                  ADVANCE AUTO PARTS
                  PO BOX 742063
                  ATLANTA, GA 30374



                  AMAZON CAPITOL
                  410 TERRY AVE N
                  SEATTLE, WA 98109



                  Amazon Credit
                  PO Box 6294
                  Carol Stream, IL 60197



                  AMERICAN EXPRESS
                  PO BOX 650448
                  DALLAS, TX 75265



                  Amex
                  Correspondence/Bankruptcy
                  PO Box 981540
                  El Paso, TX 79998


                  Ascentium Capital
                  23970 Hwy 59 N
                  Kingwood, TX 77339



                  ASCENTIUM CAPITOL
                  PO BOX 301593
                  DALLAS, TX 75303



                  AT & T
                  PO Box 930170
                  Dallas, TX 75393
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                  BCI SUPPLY
                  107 GLADSTELL ST.
                  CONROE, TX 77301



                  Blue Ridge Financial, LLC
                  535 Washington Street
                  Suite 201
                  Buffalo, NY 14203


                  Caine & Weiner
                  PO Box 55848
                  Sherman Oaks Ca 91413



                  Capital One
                  Attn: Bankruptcy
                  PO Box 30285
                  Salt Lake City, UT 84130


                  Chase Card Services
                  Attn: Bankruptcy
                  PO Box 15298
                  Wilmington, DE 19850


                  CHRIS SADLER/WARWORKS/L&T CATTLE
                  103 N THOPMPSON ST
                  CONROE, TX 77301



                  CHTD Company
                  PO Box 2576
                  Springfield, IL 62708



                  CIT BANK NA
                  PO BOX 856502
                  MINNEAPOLIS, MN 55485



                  CITIZEN BANK
                  PO BOX 42124
                  PROVIDENCE, RI 2940
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                  Citizens One
                  PO Box 42124
                  Providence, RI 02940-2124



                  CNC Associates, Inc
                  2900 Challenger Place
                  Onxnard, CA 93030



                  Comcast
                  PO Box 660618
                  Dallas, TX 75266



                  Cornwell Quality Tools
                  Attn: Bankruptcy Dept
                  667 Seville Road
                  Wadsworth, OH 44281


                  Corporation Service Company
                  251 Little Falls Drive
                  Wilmington, DE 19808



                  Corporation Service Company
                  PO Box 2576
                  Springfield, IL 62708



                  Credit Management, LP
                  Attn: Bankruptcy
                  6080 Tennyson Pkwy, Ste 100
                  Plano, TX 75024


                  CT Lien Solutions
                  2727 Allen Parkway Ste. 100
                  Houston, TX 77019



                  DAVID CASTILLO
                  24664 COUNTRY OAKS BLVD
                  MONTGOMERY, TX 77316
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                  Discover card
                  PO BOX 29013
                  PHOENIX, AZ 85038



                  Discover Financial
                  Attn: Bankruptcy
                  PO Box 3025
                  New Albany, OH 43054


                  Don & Annette Boucher
                  PO Box 1623
                  Montgomery, TX 77356



                  EBAY
                  2025 HAMILTON AVE
                  SAN JOSE, CA 95125



                  Enhanced Recovery Company
                  Attn: Bankruptcy
                  8014 Bayberry Road
                  Jacksonville, FL 32256


                  ENTERGY
                  PO BOX 8104
                  BATON ROUGE, LA 70891



                  FARMERS INSURANCE
                  PO BOX 660066
                  DALLAS, TX 75266



                  FRANK & ANGELA MOORE
                  PO BOX 52
                  MONTGOMERY, TX 77356



                  Green Mountain Energy
                  PO Box 65001
                  Dallas, TX 75265-0001
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                  HAAS
                  PO BOX 51160
                  LOS ANGELES, CA 90074



                  Internal Revenue Service
                  1919 Smith St.
                  Stop 5024 HOU
                  Houston, TX 77002


                  Internal Revenue Service
                  Insolvency Department
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Internal Revenue Service
                  STOP 6692 AUSC
                  Austin, TX 73301-0030



                  JACOB BROWN
                  23520 SHARP RD #6
                  MONTGOMERY, TX 77356



                  KENNETH L THOMET CPA
                  16955 WALDEN RD STE118
                  MONTGOMERY, TX 77356



                  KEYSTON BROTHERS
                  5250 N SAM HOUSTON PRKWAY W
                  HOUSTON, TX 77086



                  KYLE GRIMES
                  25261 ASHLEY DR
                  HOCKLEY, TX 77447



                  LEONARD B ABKE
                  12923 CR 314
                  NAVASOTA, TX 77868
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                  Linebarger, Goggan, Blair & Sampson, LLP
                  103 W. Phillips St.
                  Conroe, TX 77301



                  Luxury Air AC and Heating
                  904 McCall Ave
                  Conroe, TX 77301



                  M&G SALES
                  144 THERON ST
                  HOUSTON, TX 77022



                  MCCLANAHAN DEVELOPMENT
                  13921 HWY 105 W
                  CONROE, TX 77304



                  MICHAEL & LAURA SIMMONS
                  11739 W GRAND POND DR
                  MONTGOMERY, TX 77356



                  Montgomery County Tax Assessor
                  400 N. San Jacinto ST.
                  Conroe, TX 77301



                  Nationwide Credit, Inc
                  PO Box 15130
                  Wilmington, DE 19850-5130



                  O'NEAL STEEL
                  PO BOX 934243
                  ATLANTA, GA 31193



                  O'REILLY AUTO PARTS
                  PO BOX 9464
                  SPRINGFIELD, MO 65801
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                  PAYPAL
                  PO BOX 960080
                  ORLANDO, FL 32896



                  PAYPAL LOAN BUILDER SWIFT FINANCIAL
                  3505 SILVERSIDE RD
                  WILLMINGTON, DE 19810



                  Radius Global Solutions
                  PO Box 390846
                  Minneapolis Mn 55439



                  RAM PRODUCTS
                  PO BOX 821159
                  FT WORTH, TX 76182



                  Richard Muller Esq.
                  c/o Legend Advance Funding, II, LLC
                  360 Madison Avenue, 12th Floor
                  New York, NY 10017


                  Rusty Green CRG Group llc
                  101 W Farmers Rd
                  Seagoville Rd 75159



                  Snap On Credit
                  950 Technology Way
                  Suite 301
                  Libertyville, IL 60048


                  SNAP ON INC
                  2801 80TH ST.
                  KENOSHA, WI 53143



                  STORAGE 105 INC
                  13921 HWY 105 W
                  CONROE, TX 77304
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                   Synchrony Bank
                   Attn: Bankruptcy
                   PO Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/Gap
                   Attn: Bankruptcy Dept
                   PO Box 965060
                   Orlando, FL 32896


                   Synchrony Bank/QVC
                   Attn: Bankruptcy Dept
                   PO Box 965060
                   Orlando, FL 32896


                   TEXAS WORKFORCE COMMISSION
                   ATTORNEY GENERAL, STATE OF TX
                   PO BOX 12548
                   AUSTIN, TX 78711


                   TIM LEBLANC




                   ULINE
                   PO BOX 88741
                   CHICAGO, IL 60680



                   UPS
                   55 GLENLAKE PARKWAY NE
                   ATLANTA, GA 30328



                   VIVINT
                   4931 NORTH 300 WEST
                   PROVO, UT 84604



                   WASTE MANAGEMENT
                   PO BOX 660345
                   DALLAS, TX 75266
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                   WELLS FARGO
                   PO BOX 6995
                   PORTLAND, OR 97228



                   Wells Fargo Home Mortgage
                   Attn: Bankruptcy
                   PO Box 10335
                   Des Moines, IA 50306


                   XOMETRY SUPPLIES
                   PO BOX 735304
                   DALLAS, TX 75373
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: Joshua Zebidiah Boucher                                                            CASE NO

                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: Federal
                                                                Gross             Total           Total         Total Amount    Total Amount
No.     Category                                        Property Value    Encumbrances           Equity               Exempt     Non-Exempt


1.      Real property                                    $173,410.00          $269,806.00        $0.00                $0.00            $0.00

3.      Motor vehicles (cars, etc.)                        $8,075.00                $0.00    $8,075.00            $8,075.00            $0.00

4.      Water/Aircraft, Motor Homes,                       $2,500.00            $2,000.00      $500.00              $500.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $1,137.00                $0.00    $1,137.00            $1,137.00            $0.00

7.      Electronics                                          $230.00                $0.00      $230.00              $230.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00        $0.00                $0.00            $0.00

9.      Equipment for sports and hobbies                      $70.00                $0.00       $70.00               $70.00            $0.00

10.     Firearms                                             $600.00                $0.00      $600.00              $600.00            $0.00

11.     Clothes                                              $100.00                $0.00      $100.00              $100.00            $0.00

12.     Jewelry                                               $28.00                $0.00       $28.00               $28.00            $0.00

13.     Non-farm animals                                       $1.00                $0.00        $1.00                $1.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00        $0.00                $0.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                $0.00        $0.00                $0.00            $0.00

17.     Deposits of money                                     $59.43                $0.00       $59.43               $59.43            $0.00

18.     Bonds, mutual funds or publicly                        $0.00                $0.00        $0.00                $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $1.00                $0.00        $1.00                $1.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00        $0.00                $0.00            $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                $0.00        $0.00                $0.00            $0.00

22.     Security deposits and prepayments                      $0.00                $0.00        $0.00                $0.00            $0.00

23.     Annuities                                              $0.00                $0.00        $0.00                $0.00            $0.00

24.     Interests in an education IRA                          $0.00                $0.00        $0.00                $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00        $0.00                $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00        $0.00                $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00        $0.00                $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00        $0.00                $0.00            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Joshua Zebidiah Boucher                                                            CASE NO

                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: Federal
                                                           Gross                  Total           Total         Total Amount    Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt     Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00               $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00         $0.00               $0.00            $0.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00               $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00               $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00               $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00               $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00               $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00               $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00               $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00         $0.00               $0.00            $0.00

42.     Interests in partnerships or                       $0.00                    $0.00         $0.00               $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00               $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00         $0.00               $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00               $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00               $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00               $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

                    TOTALS:                          $186,211.43              $271,806.00    $10,801.43          $10,801.43            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Joshua Zebidiah Boucher                                                               CASE NO

                                                                                               CHAPTER       7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                    Market Value                     Lien                Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                         $0.00                   $0.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                  Market Value              Lien            Equity       Non-Exempt Amount

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                       $0.00            $0.00            $0.00                        $0.00




                                                                Summary
            A. Gross Property Value (not including surrendered property)                                             $186,211.43

            B. Gross Property Value of Surrendered Property                                                                 $0.00

            C. Total Gross Property Value (A+B)                                                                      $186,211.43

            D. Gross Amount of Encumbrances (not including surrendered property)                                     $271,806.00

            E. Gross Amount of Encumbrances on Surrendered Property                                                         $0.00

            F. Total Gross Encumbrances (D+E)                                                                        $271,806.00

            G. Total Equity (not including surrendered property) / (A-D)                                              $10,801.43

            H. Total Equity in surrendered items (B-E)                                                                      $0.00

            I. Total Equity (C-F)                                                                                     $10,801.43

            J. Total Exemptions Claimed                  (Wild Card Used: $5,235.43, Available: $8,664.57)            $10,801.43

            K. Total Non-Exempt Property Remaining (G-J)                                                                    $0.00
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 Fill in this information to identify your case:
 Debtor 1             Joshua                  Zebidiah            Boucher
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Joshua               Zebidiah              Boucher
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Joshua Zebidiah Boucher                                                                                             Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1        Joshua Zebidiah Boucher                                                                             Case number (if known)

                                                                                                                        Column A               Column B
                                                                                                                        Debtor 1               Debtor 2 or
                                                                                                                                               non-filing spouse

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments made under the Federal law relating to the national emergency
    declared by the President under the National Emergencies Act
    (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against
    humanity, or international or domestic terrorism; or compensation, pension,
    pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a
    member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                   +                          +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                 +                          =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income

 Part 2:          Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                        Copy line 11 here                       12a.

             Multiply by 12 (the number of months in a year).                                                                                                               X          12

     12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.

     Fill in the number of people in your household.


     Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                           13.
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

     14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
     14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
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Debtor 1      Joshua Zebidiah Boucher                                                        Case number (if known)

 Part 3:       Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



      X    /s/ Joshua Zebidiah Boucher                                            X
           Joshua Zebidiah Boucher, Debtor 1                                          Signature of Debtor 2

           Date 3/8/2021                                                              Date
                MM / DD / YYYY                                                               MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                              page 4
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                                      Current Monthly Income Calculation Details
In re: Joshua Zebidiah Boucher                                         Case Number:
                                                                       Chapter:     7




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                                        Underlying Allowances (as of 03/08/2021)
In re: Joshua Zebidiah Boucher                                            Case Number:
                                                                          Chapter:     7


                                                      Median Income Information
 State of Residence                                                   Texas
 Household Size                                                       1
 Median Income per Census Bureau Data                                 $52,308.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          1
 Gross Monthly Income                                                 $0.00
 Income Level                                                         Not Applicable
 Food                                                                 $385.00
 Housekeeping Supplies                                                $45.00
 Apparel and Services                                                 $85.00
 Personal Care Products and Services                                  $43.00
 Miscellaneous                                                        $157.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $715.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $56.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Household members 65 years of age or older
 Allowance per member                                                 $125.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $0.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Texas
 County or City Name                                                  Montgomery County
 Family Size                                                          Family of 1
 Non-Mortgage Expenses                                                $513.00
 Mortgage/Rent Expense Allowance                                      $1,255.00
 Minus Average Monthly Payment for Debts Secured by Home              $3,019.90
 Equals Net Mortgage/Rental Expense                                   $0.00
 Housing and Utilities Adjustment                                     $0.00




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                                        Underlying Allowances (as of 03/08/2021)
In re: Joshua Zebidiah Boucher                                            Case Number:
                                                                          Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                Houston
 Number of Vehicles Operated                                          1
 Allowance                                                            $259.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                Houston
 Allowance (if entitled)                                              $224.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                Houston
 Number of Vehicles with Ownership/Lease Expense                      0
                                                    First Car                                              Second Car
 Allowance
 Minus Average Monthly
 Payment for Debts
 Secured by Vehicle
 Equals Net Ownership /
 Lease Expense




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